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                UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON

                          PORTLAND DIVISION



LIZBETH HANSEN                         Case No. 3:22-cv-27

                    Plaintiff          COMPLAINT

      vs                               15 U.S.C. § 1681 et seq.
                                       Fair Credit Reporting Act
WELLS FARGO BANK N.A.
                                       Demand for Jury Trial
                    Defendant




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              JURISDICTION AND THE PARTIES

                                  1.

      This Court has jurisdiction under 15 U.S.C. § 1681p.

                                  2.

      Plaintiff Lizbeth Hansen is an individual living in Multnomah

County, Oregon and a “consumer” as defined by the Fair Credit

Reporting Act (FCRA) at 15 U.S.C. § 1681a(c).

                                  3.

      Defendant Wells Fargo Bank N.A. (Wells Fargo) is a national

association bank and a person who furnishes information to consumer

reporting agencies under the FCRA, 15 U.S.C. § 1681s-2.




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                      FACTUAL ALLEGATIONS

                                     4.

      This complaint’s allegations are based on personal knowledge as

to plaintiff’s behavior, and made on information and belief as to the

behavior of others.

                                     5.

      In September of 2018, plaintiff filed a petition for a Chapter 7

bankruptcy. In January of 2019 plaintiff’s credit card debt with Wells

Fargo was completely discharged in her Chapter 7 bankruptcy case.

                                     6.

      At all times after January of 2019 plaintiff’s credit card account

with Wells Fargo should have appeared on her credit reports as

discharged in bankruptcy and with zero balance owing.

                                     7.

      After January of 2019 Wells Fargo furnished false and inaccurate

credit information about plaintiff to the credit reporting agencies.

                                     8.

      Specifically, after January of 2019 Wells Fargo told the credit

reporting agencies that plaintiff’s credit card debt was past due, had a

balance of $2,829, and Wells Fargo did not indicate that the debt was

discharged in bankruptcy.




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                                    9.

       After plaintiff discovered Wells Fargo’s false and inaccurate

information on her credit reports she disputed the information to the

credit reporting agencies.

                                    10.

       Plaintiff’s disputes to the credit reporting agencies contained

information that plaintiff’s account with Wells Fargo was in fact

discharged in bankruptcy with zero balance owing.

                                    11.

       The credit reporting agencies notified Wells Fargo of plaintiff’s

disputes of Wells Fargo’s false and inaccurate information.

                                    12.

       Wells Fargo failed to conduct a reasonable investigation of

plaintiff’s disputes, and take the actions it was required to take under

the FCRA. Wells Fargo knew that the information about its account on

plaintiff’s credit reports was false and inaccurate but Wells Fargo did

not tell the credit reporting agencies to correct the information on

plaintiff’s credit reports.

                                    13.

       As of the date of this complaint, plaintiff’s credit reports still

contain false and inaccurate information furnished by Wells Fargo.




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                                     14.

      Wells Fargo has a pattern and practice of failing to conduct

reasonable investigations into credit report disputes that Wells Fargo

receives from credit reporting agencies and of failing to remove false and

inaccurate information from consumer credit reports even after

receiving multiple notices of disputes from credit reporting agencies and

consumers.




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                        CLAIMS FOR RELIEF

                              Claim One

             Negligent Noncompliance with the FCRA

                                    15.

       As alleged in this complaint, Wells Fargo negligently failed to

comply with the requirements of the FCRA. As a result of Wells Fargo’s

failure to comply with the requirements of the FCRA, plaintiff has

suffered and continues to suffer actual damages including emotional

distress, economic loss, damage to reputation and creditworthiness,

invasion of privacy, wasted time, and interference with plaintiff’s

normal and usual activities for which plaintiff seeks nominal damages

of one dollar.

                                    16.

       Plaintiff requests attorney fees under 15 U.S.C. § 1681o(a).




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                              Claim Two

              Willful Noncompliance with the FCRA

                                    17.

      As alleged in this complaint, Wells Fargo willfully failed to comply

with the requirements of the FCRA. As a result of Wells Fargo’s failure

to comply with the requirements of the FCRA, plaintiff has suffered and

continues to suffer actual damages including emotional distress,

economic loss, damage to reputation and creditworthiness, invasion of

privacy, wasted time, and interference with plaintiff’s normal and usual

activities for which plaintiff seeks nominal damages of one dollar and

punitive damages in an amount determined by the jury.

                                    18.

      Plaintiff requests attorney fees under 15 U.S.C. § 1681n(a).




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                          JURY TRIAL DEMAND

                                        19.

         Plaintiff respectfully requests a trial by jury.

                          PRAYER FOR RELIEF

         Plaintiff respectfully requests a judgment that Wells Fargo

negligently and willfully violated the Fair Credit Reporting Act, and

nominal damages of one dollar, punitive damages, attorney fees and

costs.


January 6, 2022

                                    RESPECTFULLY FILED,

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